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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                    :
 CATHRINE VEIKOS,                   :
                                    :
                         Plaintiff, :
                                    :
      v.                            : CIVIL ACTION NO. 20-4408-JDW
                                    :
                                    :
                                    :
 TRUSTEES OF THE UNIVERSITY         :
 OF PENNSYLVANIA,                   : JURY TRIAL DEMANDED
                                    :
                       Defendant. :
                                    :

                      STIPULATION OF DISMISSAL WITH PREJUDICE

       The parties to this action, acting through counsel, and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) hereby stipulate, in consideration of a negotiated settlement of the

matter, to the Dismissal With Prejudice of this action, including all claims stated therein, with

each party to bear their own attorneys’ fees and costs.

Date: September 27, 2023

 /s/ Julie A. Uebler                               /s/ Michael L. Banks
 Julie A. Uebler, Esquire                          Michael L. Banks, Esquire
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                                                   max.bernstein@morganlewis.com
                                                   Attorneys for Defendants

So ordered this ___ day of September, 2023.

_____________________________________
Joshua D. Wolson, J.
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                                  CERTIFICATE OF SERVICE

       I, Julie A. Uebler, hereby certify that a true and correct copy of the parties’ Stipulation of

Dismissal with Prejudice was filed with the court’s ECF system on September 27, 2023 and

available to all counsel of record below:


                                    Michael L. Banks, Esquire
                                   A. Klair Fitzpatrick, Esquire
                                    Max O. Bernstein, Esquire
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                                     Attorneys for Defendant




                                                      s/Julie A. Uebler
                                                      Julie A. Uebler




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